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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Emoji Company GmbH
                                                         Plaintiff,
v.                                                                    Case No.:
                                                                      1:22−cv−03698
                                                                      Honorable Sharon
                                                                      Johnson Coleman
The Individuals, Corporations, Limited Liability
Companies, Partnerships, and Unincorporated
Associations Identified on Schedule A Hereto, et al.
                                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, February 23, 2023:


        MINUTE entry before the Honorable Sharon Johnson Coleman: Motion hearing
held on 2/23/2023. Defendants did not appear nor contact the Court. The Court grants the
request of plaintiff to reinstate defendant hehhejfusss because defendant has failed to
comply with the settlement. Plaintiff's motion for entry of default and default judgment
against the defendants identified in Amended Schedule A [67] is granted. Default
judgment is entered in favor of plaintiff and against the defendants identified in Amended
Schedule A. Enter Order. Civil case terminated. Mailed notice. (ym, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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